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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                MCALLEN DIVISION

  TEXAS BANKERS ASSOCIATION; RIO                   )
  BANK, MCALLEN, TEXAS; and                        )
  AMERICAN BANKERS ASSOCIATION,                    )
                                                   )
                         Plaintiffs,               )
                                                   )
         v.                                        )
                                                   ) Case No. 7:23-cv-00144
  CONSUMER FINANCIAL                               )
  PROTECTION BUREAU and ROHIT                      )
  CHOPRA, in his official capacity as              )
  Director of the Consumer Financial               )
  Protection Bureau,                               )
                                                   )
                         Defendants.               )


      INTERVENOR-PLAINTIFFS’ MOTION TO AMEND THE COMPLAINT IN
                           INTERVENTION

       Pursuant to Federal Rule 15(a) of the Federal Rules of Civil Procedure, Intervenor-

Plaintiffs the Farm Credit Council (the “Council”), Texas Farm Credit (“TFC”), and Capital Farm

Credit (“CFC”) (collectively, the “Farm Credit Intervenors”), hereby move for leave to amend

their Complaint in Intervention, Dkt.67. The requested amendments seek to account for a recent

Supreme Court decision that fundamentally changes the Complaint in Intervention.

       This motion is made on the grounds that good cause exists for amendment, that no

Defendant, Plaintiff, or other Intervenor-Plaintiff will be prejudiced, and the amendment is in the

public interest. Filed herewith is the verified First Amended Complaint in Intervention (Exhibit

1). For the reasons set forth in the accompanying Brief, Farm Credit Intervenors request that the

Court grant the motion to amend the Complaint in Intervention.
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Dated: August 2, 2024                        Respectfully submitted,

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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
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TEXAS BANKERS ASSOCIATION; RIO           )
BANK, MCALLEN, TEXAS; and                )
AMERICAN BANKERS ASSOCIATION,            )
                                         )
                    Plaintiffs,          )
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      v.                                 )
                                         ) Case No. 7:23-cv-00144
CONSUMER FINANCIAL                       )
PROTECTION BUREAU and ROHIT              )
CHOPRA, in his official capacity as      )
Director of the Consumer Financial       )
Protection Bureau,                       )
                                         )
                    Defendants.          )


INTERVENOR-PLAINTIFFS’ BRIEF IN SUPPORT OF MOTION TO AMEND THE
                 COMPLAINT IN INTERVENTION
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                                           INTRODUCTION

        Pursuant to Federal Rule 15(a) of the Federal Rules of Civil Procedure, Intervenor-

Plaintiffs the Farm Credit Council (the “Council”), Texas Farm Credit (“TFC”), and Capital Farm

Credit (“CFC”) (collectively, the “Farm Credit Intervenors”), move for leave (the “Motion”) to

amend their Complaint in Intervention, Dkt.67. The requested amendments seek to account for a

recent Supreme Court decision that fundamentally changes one of the counts in the Farm Credit

Intervenors’ Complaint.        At the time the Farm Credit Intervenors filed the Complaint in

Intervention, the Fifth Circuit had held the Consumer Financial Protection Bureau (the “CFPB”)

had promulgated a rule and operated unconstitutionally because its funding structure violated the

U.S. Constitution’s Appropriations Clause (hereinafter “Appropriations Clause”). Cmty. Fin.

Servs. Ass’n of Am., Ltd. (“CFSA”) v. CFPB, 51 F.4th 616, 642 (5th Cir. 2022), rev’d and

remanded on other grounds, CFPB v. CFSA, 601 U.S. 416 (2024). Farm Credit Intervenors’

amendment of the Complaint in Intervention in response to change in controlling precedent is

made in good faith and should be permitted under Federal Rule 15(a)’s and this Court’s liberal

amendment policy and because “justice so requires.” Fed. R. Civ. P. 15(a).

                FACTUAL BACKGROUND AND PROCEDURAL HISTORY1

        In 2010, Congress enacted Title X of the Dodd-Frank Act and, in so doing, established the

CFPB, Pub. L. No. 111-203, an agency possessing broad statutory authority to regulate individuals

and entities that provide financial products and services, see 12 U.S.C. § 5511(a). Congress

structured the CFPB’s funding method to provide that the CFPB’s funding come only from the

Federal Reserve’s “combined earnings.” 12 U.S.C. § 5497(a)(1). If the Federal Reserve has no



        1
         Farm Credit Intervenors reproduce this Factual Background and Procedural in their accompanying Motion
to Amend Complaint in Intervention, No. 7:23-cv-00144 (S.D. Tex., Aug. 2, 2024).
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“combined earnings” with which to fund the CFPB, Congress requires the CFPB to return to

Congress to ask for lawful appropriations to continue its operations. 12 U.S.C. § 5497(e)(1)(A).

The Dodd-Frank Act contains numerous provisions intended to promote the CFPB’s

implementation of fair lending laws, including Section 1071. Section 1071 added a new Section

704B to the Equal Credit Opportunity Act (“ECOA”), requiring banks and other small business

lenders to report on a limited universe of data points from small business credit applications,

including, for instance, “the number of the application and the date on which the application was

received” and “the type and purpose of the loan or other credit being applied for.” 15 U.S.C.

§ 1691c-2(e)(2)(A)–(B). The new ECOA provision also grants the CFPB authority to require

additional reporting obligations that “would aid in fulfilling the purposes of this section.” Id.

§ 1691c-2(e)(2)(H).

       The CFPB published a proposed rule on September 1, 2021. 86 Fed. Reg. 56356 (Oct. 8,

2021). On October 19, 2022, while the proposed rule was still pending, the Fifth Circuit issued its

decision in CFSA, holding that the CFPB’s funding structure violates the U.S. Constitution’s

Appropriations Clause and separation of powers, 51 F.4th at 642; U.S. Const. art. I, § 9, cl. 7. The

Fifth Circuit then held that the remedy for this constitutional violation was to “rewind[ ]” the

CFPB’s unlawfully funded rule. 51 F.4th at 643 (quoting Collins v. Yellen, 594 U.S. 220, 273–74

(2021) (Kagan, J., concurring)). A few months later, the U.S. Supreme Court granted the CFPB’s

petition for a writ of certiorari to address the question of whether the CFPB’s funding structure

violated the Appropriations Clause, U.S. Const. art. I, § 9, cl. 7.

       Despite the Fifth Circuit’s decision and the then-pending U.S. Supreme Court’s grant of

certiorari, the CFPB published a version of the Final Rule on its website March 30, 2023, indicating

an intent to officially publish the Final Rule in the Federal Register at a later date. See CFPB,



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Small Business Lending under the Equal Credit Opportunity Act (Regulation B) (Mar. 30, 2023).2

The original Plaintiffs—Texas Bankers Association; Rio Bank, McAllen, Texas; and American

Bankers Association—then filed this suit challenging the Final Rule on constitutional and statutory

grounds and seeking preliminary and permanent injunctive relief. Dkt.12. On July 31, 2023, this

Court entered its Order Granting In-Part And Denying In-Part Plaintiffs’ Motion For Preliminary

Injunction, Dkt.25, barring the CFPB from implementing the Final Rule. Subsequently, other

Intervenor-Plaintiffs filed motions for preliminary injunction to extend the motion to themselves

and other financial institutions. See Dkts.44, 45, 54, 55. This Court granted those motions to

intervene. On October 26, 2023, the Court issued its Order Granting Intervenors’ Motions For

Preliminary Injunction, granting injunctive relief to all Intervenor-Plaintiffs and covered financial

institutions, which preliminary injunction was to last until the Supreme Court’s reversal of CFSA,

51 F.4th 616, in CFSA, 601 U.S. 416. Dkt.69 at 7–8.

        All Plaintiffs and Plaintiff-Intervenors collectively filed a Motion for Summary Judgment

on March 1, 2024. Dkt.79. They argued that summary judgment was appropriate because, inter

alia, the CFPB exceeded its statutory authority by imposing additional data requirements in the

Final Rule, id. at 10–22, that the Final Rule is arbitrary and capricious because the CFPB failed to

adequately consider the real-world costs it imposed on the banking community, id. at 22–26, and

that the CFPB’s cost/benefit analysis of the Final Rule was arbitrary and capricious, id. at 26–35.

That motion and a cross-motion by the CFPB were fully briefed as of June 7, 2024. Dkt.100.

        The Supreme Court issued its opinion in CFSA on May 16, 2024. 601 U.S. 416. There,

the Supreme Court decided that CFPB’s funding mechanism complied with the Appropriations



        2
          Available at https://www.consumerfinance.gov/rules-policy/final-rules/small-business-lending-under-the-
equal-credit-opportunity-act-regulation-b/ (all websites last visited on August 2, 2024).


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Clause. Id. at 420–21. Specifically, the Supreme Court held that the CFPB’s funding complied

with Appropriations Clause only because the Federal Reserve’s “combined earnings” transferred

to the CFPB are also subject to the Appropriations Clause.                    Id. at 425, 435, 441.         The

Appropriations Clause governs the CFPB’s funds because the “money [is] otherwise destined for

the general fund of the Treasury.” Id. at 425.

        But the Federal Reserve has lacked “combined earnings” to transfer to the CFPB since

September 2022, when the Federal Reserve first ceased “earnings” transfers to the Treasury. See

Miguel Faria e Castro, Samuel Jordan-Wood, The Fed’s Remittances to the Treasury: Explaining

the ‘Deferred Asset’, Fed. Rsrv. Bank of St. Louis (Nov. 21, 2023) (“beginning in September 2022,

remittances due [to the Treasury] became negative”)3; see generally Bd. of Governors of the Fed.

Rsrv. Sys., Federal Reserve Banks Combined Quarterly Financial Report 2, 25 (Mar. 31, 2024)

(hereinafter “March 2024 Financial Statement”).4




        3
           Available at https://www.stlouisfed.org/on-the-economy/2023/nov/fed-remittances-treasury-explaining-
deferred-asset.
         4
           Available at https://www.federalreserve.gov/aboutthefed/files/quarterly-report-20240517.pdf.

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Bd. of Governors of the Fed. Rsrv. Sys., Federal Reserve Board announces preliminary financial

information for the Federal Reserve Banks’ income and expenses in 2023 (Jan. 12, 2024).5 The

Federal Reserve made its last transfer to the Treasury on August 31, 2023. See Fed. Rsrv. Bank

of St. Louis, Liabilities and Capital: Liabilities: Earnings Remittances Due to the U.S. Treasury:

Wednesday Level.6 Without “combined earnings,” the CFPB had only one method to fund itself:

by entreating Congress for regular Appropriations. 12 U.S.C. § 5497(e)(1)(A). The CFPB did not

do so; instead, it has continued funding itself with monies from the Federal Reserve that are not

“combined earnings,” beginning with a $315,700,000 transfer to the CFPB in October 2022. Letter

from Rohit Chopa, Director, CFPB, to Jerome Powell, Chair, Bd. of Governors of Fed. Rsrv. Sys.

(Oct. 14, 2022)7; Letter from Ricardo A. Aguilera, Div. Dir. and Chief Fin. Off., Bd. of Governors

of the Fed. Rsrv. Sys., to Dana James, Acting Chief Fin. Off., CFPB (Oct. 19, 2022).8

       After the Supreme Court’s CFSA decision, the CFPB modified the Final Rule on July 3,

2024, through issuance of an interim final rule, 89 Fed. Reg. 55024 (July 3, 2024) (to be codified

at 12 C.F.R. § 1002). While the CFPB pursued the Final Rule’s modification, it relied upon the

Federal Reserve’s unappropriated funds—not from its “combined earnings” since it had lacked

combined earnings since September 2022—to promulgate the interim rule, just as it had when it

issued the Final Rule to begin with.

                                              ARGUMENT

       A. Courts must “freely give[ ]” leave to amend a complaint “when justice so requires.”

Day v. McDonough, 547 U.S. 198, 209 (2006) (quoting Fed. R. Civ. P. 15(a)). A court should




       5
         Available at https://www.federalreserve.gov/newsevents/pressreleases/other20240112a.htm.
       6
         Available at https://fred.stlouisfed.org/series/RESPPLLOPNWW.
       7
         Available at https://files.consumerfinance.gov/f/documents/cfpb_funds-transfer-request_fy 2023-q1.pdf.
       8
         Available at https://files.consumerfinance.gov/f/documents/cfpb_transfer-of-funds-fy2023-q1.pdf.


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only deny leave to amend for reasons such as “undue delay, bad faith or dilatory motive on the

part of the movant, repeated failure to cure deficiencies by amendments previously allowed, undue

prejudice to the opposing party by virtue of allowance of the amendment, [or] futility of

amendment.” Ayers v. Peterson, 130 Fed. App’x 666, 669 (5th Cir. 2005). “Federal Rule 15(a)

counsels a liberal amendment policy, which is limited by considerations of judicial economy and

fairness to the nonmovant and which abhors bad faith or a dilatory motive.” Nance v. Gulf Oil

Corp., 817 F.2d 1176, 1180 (5th Cir. 1987); see also United States ex rel. Bennett v. Medtronic,

Inc., 747 F. Supp. 2d 745, 749 (S.D. Tex. 2010). Courts “may grant leave to amend in situations

where the controlling precedents changed midway through the litigation.” Sonoma Cnty. Ass’n of

Retired Emps. v. Sonoma Cnty., 708 F.3d 1109, 1117–18 (9th Cir. 2013). When plaintiffs request

an amendment to “add new, potentially viable, claims in reaction to an unforeseeable change in

legal precedent[,]” then such amendment does not constitute bad faith under Federal Rule 15(a).

Lundy v. Morgan Stanley & Co., No. C-90-2796 TEH, 1991 WL 238293, at *1–2 (N.D. Cal. July

18, 1991); see Cruper-Weinmann v. Paris Baguette Am., Inc., 653 F. App’x 81, 82 (2d Cir. 2016)

(granting leave to amend complaint due to an interceding Supreme Court decision overturning case

law plaintiffs relied upon); see also United States v. Vaught, No. 1:18-cv-00452-

DCN, 2019 WL 4786045 at *9–11, 124 A.F.T.R.2d (RIA) 2019-6184 (D. Idaho Sep. 30, 2019)

(granting motion to amend complaint because of new controlling case law).

       B. This Court should grant this motion for leave to amend the Complaint in Intervention

because the U.S. Supreme Court overruled binding Fifth Circuit law, necessarily modifying the

legal theories in the Amended Complaint in Intervention and generating a new U.S. Constitution

Appropriation Clause issue. Furthermore, the CFPB cannot demonstrate undue delay, bad faith or




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dilatory motive on the part of the movant, undue prejudice to the opposing party, or futility, given

that no developments have occurred since the Supreme Court issued CFSA.

       The Complaint in Intervention relied on the Fifth Circuit’s then-binding holding in CFSA,

51 F.4th 616, that the CFPB’s funding structure was unconstitutional. See Dkt.67 ¶¶ 6, 23, 24,

30–33. The Fifth Circuit had held there that the CFPB’s “funding apparatus cannot be reconciled

with the [U.S. Constitution’s] Appropriations Clause and the clause’s underpinning, the

constitutional separation of powers.” CFSA, 51 F.4th at 642.

       Subsequently, in CFSA the Supreme Court “decide[d] the narrow question [of] whether”

the CFPB’s funding mechanism complied with the Appropriations Clause, 601 U.S. at 421.

Although the Final Rule is arbitrary and capricious for the reasons outlined by the Plaintiffs in this

case, it is also unconstitutional and unlawful in another respect, which only became pertinent after

the U.S. Supreme Court reversed CFSA, 51 F.4th 616. In particular, the Supreme Court explained

that the CFPB’s only constitutional funding comes from 12 U.S.C. § 5497, which “authorizes the

[CFPB] to draw public funds from a particular source—‘the combined earnings of the Federal

Reserve System.’” CFSA, 601 U.S. at 418 (citation omitted). The Supreme Court held that only

CFPB’s funding from the “combined earnings” of the Federal Reserve complied with the

Appropriations Clause because the “money [is] otherwise destined for the general fund of the

Treasury.” Id. at 425, 441. This created a new legal issue as to whether the CFPB’s promulgation,

modification and enforcement of the Final Rule complied with the Appropriations Clause since

the Federal Reserve had no constitutional “combined earnings” with which to fund the CFPB, nor

did CFPB ever ask for additional appropriations under 12 U.S.C. § 5497(e)(1)(A). As such, the

overarching legal issue is the same in the original Complaint in Intervention and the Amended

Complaint in Intervention: the CFPB’s promulgation of the Final Rule is unlawful because the



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CFPB violated the Appropriations Clause. Compare Dkt.67 ¶¶ 6, 23, 24, 30–33 to Ex.1 ¶¶ 6, 23,

24, 30–36, 37–42.

       The Court should grant the motion for leave to amend here because there is no “undue

delay, bad faith or dilatory motive on the part of the movant, repeated failure to cure deficiencies

by amendments previously allowed, undue prejudice to the opposing party by virtue of allowance

of the amendment, [or] futility of amendment.” Ayers, 130 F. App’x at 669; Fed. R. Civ. P. 15(a).

Prior to the Supreme Court’s CFPB decision, Farm Credit Intervenors pursued their claims under

controlling Fifth Circuit Precedent and there is no any indication they sought to unduly delay the

case or operate in bad faith, nor does responding to a change in controlling precedent constitute

bad faith. See Sonoma Cnty., 708 F.3d at 1117–18.

       Farm Credit Intervenors’ amendment of the Complaint in Intervention in response to a

change in controlling precedent would not cause any undue prejudice to the CFPB. See Cruper-

Weinmann, 653 F. App’x at 82. The parties have completed summary judgment briefing, and the

Court has yet to issue a decision. See Dkts.75, 76, 79, 90, 91, 95, 96, 100. Amending the

Complaint in Intervention would only require that CFPB brief the one discrete issue of whether

the CFPB complied with the U.S. Appropriations Clause while it promulgated the Final Rule.

Further, Farm Credit Intervenors have no objection to the Court’s issuance of a decision on the

Administrative Procedure Act claims if it was to do so as a partial summary judgment. This case

is not close to trial and such amendment would not require the gathering and analysis of new

facts—in fact, it is purely legal considering the nature of the Supreme Court’s decision and the

plain statutory text. Finally, as explained in the Farm Credit Intervenors’ Motion for Judgment on

the Pleadings, No. 7:23-cv-00144 (S.D. Tex., Aug. 2, 2024), the Amended Complaint in




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Intervention is not a futile effort; and, in fact, Farm Credit Intervenors are entitled to judgment on

their new claim.

       Accordingly, and pursuant to the liberal amendment policy of Federal Rule 15(a), the Court

should grant leave to the Farm Credit Intervenors to amend their Complaint in Intervention to

account for the recent Supreme Court CFPB decision.



 Dated: August 2, 2024                                Respectfully submitted,

                                                      /s/ Daniel G. Gurwitz
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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing has been filed on August 2, 2024, via the CM/ECF

system and via email courtesy copy to Counsel for Defendants.


                                                               /s/ Daniel G. Gurwitz
                                                               Daniel G. Gurwitz

                                                               Attorney in charge for Farm Credit
                                                               Council, Texas Farm Credit, and
                                                               Capital Farm Credit




                            CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule 7.1(D), I hereby certify that I conferred with Kevin Friedl and Karen

Bloom, Senior Counsel for the CFPB, by email regarding this Motion. The parties were unable to

reach an agreement on the relief sought in the Motion and thus Defendants oppose this Motion.
